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          EXHIBIT 2
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                  REDACTED




               See Schedule A Attached
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                                 SCHEDULE A
                               ANDREW LOGIE
       TRANSACTIONS (SEPTEMBER 23, 2013 THROUGH SEPTEMBER 7, 2018)

              PURCHASES                                 SALES
    DATE       SHARES       PRICE           DATE       SHARES       PRICE

   7/3/2018      400        ($3.70)        5/15/2015    40,000       $1.14
  6/27/2018     1,000       ($3.60)        3/25/2015    14,000       $1.01
  6/25/2018     1,000       ($3.06)        2/23/2015    15,000       $0.73
  6/25/2018     1,500       ($3.35)
  6/22/2018     1,000       ($3.50)
  6/21/2018     1,500       ($4.30)
  7/17/2015     40,000      ($0.96)
  5/21/2015     3,700       ($1.15)
  4/24/2015     28,000      ($1.17)
   4/8/2015     48,000      ($1.19)
   4/7/2015     14,000      ($1.35)
   4/1/2015     25,000      ($1.38)
  3/11/2015     60,000      ($1.13)
   3/9/2015     49,000      ($0.98)
   3/9/2015     30,000      ($0.92)
  2/25/2015     11,000      ($1.09)
  2/11/2015     26,000      ($0.75)
   2/9/2015     3,000       ($0.59)




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